179 F.2d 964
    James W. HOWDER, Appellant,v.ISBRANDTSEN COMPANY, Inc., Appellee.
    No. 65, Docket 21431.
    United States Court of Appeals Second Circuit.
    Argued Jan. 30, 1950.Decided Feb. 16, 1950.
    
      Samuel Morris, New York City, for appellant.
      Xavier N. Sardaro, New York City, Corydon B. Dunham, New York City, for appellee.
      Before L. HAND, SWAN and CHASE, Circuit Judges.
      PER CURIAM.
    
    Affirmed on the opinion below.1
    
      
        1
         No District Court opinion for publication
      
    
    